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                                                         U.S.DISTRICT aOUR I
                      UNITED STATES DISTRICT
                      SOUTHERN DISTRICT OF GEO^^l^ij                    8: 30
                            BRUNSWICK DIVISION

                                                       CLERK-
 UNITED STATES OF AMERICA ) INFORMATION B9)PISt OFGA
                                       )
       V.                              ) Count 1; 42 U.S.C. § 1320a.7b(a)(2)
                                       )
 PAULA PADGETT                         ) False Statement: Federal Health
                                       ) Care Programs

THE UNITED STATES ATTORNEY CHARGES:                     CB^18""d3 4
                                     COUNT 1


      Beginning in and continuing from 2013 through 2017,in the Southern District

of Georgia, the defendant, PAULA PADGETT, a person who did not personally

furnish the federal health care program services in question, did knowingly and

willfully make false statement or representation of a material fact for use in

determining rights to federal health care benefits and pa3anents. To wit,PADGETT

prepared and submitted certain "Medical Travel Refund Request" forms when, in

truth and fact, as Defendant PADGETT well knew,certain expenses claimed on the

forms had not been incurred and,therefore, were not eligible for reimbursement.

      All in violation of42 U.S.C. § 1320a-7b(a)(2).




 Bol58y^^<3hrisfine                        Brian T, Rafferty
 United States Attorney                    Assistant United States Attorney
                                           Chief, Criminal Division


JPM
 Assistant United States Attorney
Lead Counsel
